Lawrence J. Warfield
PO Box 3350
Carefree, AZ 85377

                                          UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF ARIZONA


In re:                                                                 §      Case No. 3:16-BK-09961-DPC
                                                                       §
MARK DANIEL STEVENS                                                    §
                                                                       §
                                                                       §
                            Debtor                                     §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 08/29/2016. The
        undersigned trustee was appointed on 08/29/2016.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                              $8,580.23

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                     $0.00
                          Administrative expenses                                                                                         $0.00
                          Bank service fees                                                                                              $51.76
                          Other Payments to creditors                                                                                     $0.00
                          Non-estate funds paid to 3rd Parties                                                                          $615.24
                          Exemptions paid to the debtor                                                                                   $0.00
                          Other payments to the debtor                                                                                    $0.00

                          Leaving a balance on hand of1                                                                              $7,913.23

           The remaining funds are available for distribution.

1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)

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     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

     6. The deadline for filing non-governmental claims in this case was 02/15/2017 and the deadline
        for filing government claims was 02/15/2017. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $1,546.50. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $1,546.50,
for a total compensation of $1,546.502. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$148.41, for total expenses of $148.41.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 10/10/2018                                                         By:       /s/ Lawrence J. Warfield
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)

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                                                                              FORM 1
                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                      Page No:    1              Exhibit A
                                                                           ASSET CASES

Case No.:                    16-09961-PCT DPC                                                                                     Trustee Name:                               Lawrence J. Warfield
Case Name:                   STEVENS, MARK DANIEL                                                                                 Date Filed (f) or Converted (c):            08/29/2016 (f)
For the Period Ending:       10/10/2018                                                                                           §341(a) Meeting Date:                       10/21/2016
                                                                                                                                  Claims Bar Date:                            02/15/2017

                                    1                          2                        3                                 4                        5                                         6

                        Asset Description                    Petition/           Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                    Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                 Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                               Less Liens, Exemptions,
                                                                                  and Other Costs)

 Ref. #
1       Single-family home 17600 E Sportster Ln               $161,000.00                                $0.00                                          $0.00                                            FA
        Dewey AZ 86327 Yavapai Residence: 3 bed 2
        bath house
2       2002 Chevrolet Silverado 2500 217000 MILES                 $5,600.00                             $0.00                                          $0.00                                            FA
        ***LIEN HOLDER*** Wells Fargo Dealer
        Services Amount owed on vehicle $2,229.00
3       2005 Jeep Wrangler 200000 MILES In                         $5,563.00                             $0.00                                          $0.00                                            FA
        possession of co-debtor location of vehicle on
        property located at 17600 E. Sportster Lane
        Dewey, AZ 86327 ***LIEN HOLDER***
        Wells Fargo Dealer Services Amount owed
        $5,563.00
4       2003 Harley Davidson In possession of                      $6,710.00                      $3,000.00                                        $3,000.00                                             FA
        co-debtor location of Night Train on property
        located at 17600 E. Sportster Lane Dewey, AZ
        86327
Asset Notes:      Notice - dkt 66
                  Report - dkt 68
5       2003 Harley Davidson In possession of                      $3,095.00                      $1,000.00                                        $1,000.00                                             FA
        co-debtor location of Sportser on property
        located at 17600 E. Sportster Lane Dewey, AZ
        86327
Asset Notes:      Motion - dkt 44
                  Order - dkt 49
                  Report - dkt 48
6       2005 Chevrolet Cavalier 200000 MILES In                     $104.00                         $104.00                                             $0.00                                            FA
        possession of co-debtor location of vehicle on
        property located at 17600 E. Sportster Lane
        Dewey, AZ 86327


                                        Case 3:16-bk-09961-DPC       Doc 71    Filed 10/25/18              Entered 10/25/18 14:15:03                   Desc
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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    2              Exhibit A
                                                                                     ASSET CASES

Case No.:                     16-09961-PCT DPC                                                                                             Trustee Name:                               Lawrence J. Warfield
Case Name:                    STEVENS, MARK DANIEL                                                                                         Date Filed (f) or Converted (c):            08/29/2016 (f)
For the Period Ending:        10/10/2018                                                                                                   §341(a) Meeting Date:                       10/21/2016
                                                                                                                                           Claims Bar Date:                            02/15/2017

                                 1                                      2                        3                                 4                        5                                         6

                        Asset Description                             Petition/           Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                             Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                          Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                        Less Liens, Exemptions,
                                                                                           and Other Costs)

7       2002 Chevrolet Silverado 1500 168000 MILES                          $1,374.00                             $0.00                                          $0.00                                            FA
        In possession of co-debtor location of vehicle on
        property locateda t 17600 E. Sportster Lane
        Dewey, AZ 86327
Asset Notes:    implied exemption for the non filing spouse
8       1998 Sunny Brooke In possession of co-debtor                        $5,000.00                      $5,000.00                                             $0.00                                            FA
        location of Trailer on property located at 17600
        E. Sportser Lane Dewey, AZ 86327
9       Television and Laptop                                               $1,000.00                             $0.00                                          $0.00                                            FA
10      Miscellaneous Tools                                                 $1,000.00                             $0.00                                          $0.00                                            FA
11      Checking Account USbank PO Box 1800 Saint                              $0.00                              $0.00                                          $0.00                                            FA
        Paul, MN 55101-0800 Acct. ending 6666 *joint
        account*
12      Checking Account Wells Fargo Bank 7520 E.                           Unknown                               $0.00                                          $0.00                                            FA
        State Route 69 Prescott Valley, AZ 86314 Acct
        ending 8830 ***Acct is open. Debtor has not
        used this account for approximately 6
        months***
13      IRA American Funds PO Box 7157 Indianaplois,                    $15,144.78                                $0.00                                          $0.00                                            FA
        IN 46207-7157 CB&T Cust Simple IRA Acct
        ending 2411
14      2016 FEDERAL TAX REFUND                               (u)              $0.00                       $1,811.00                                        $1,811.00                                             FA
15      JUDGMENT AGAINST CHARLENE NEISH                       (u)              $0.00                       $2,769.23                                        $2,769.23                                             FA
Asset Notes:      Adversary 17-ap-00262
                  Docket 18


TOTALS (Excluding unknown value)                                                                                                                                                     Gross Value of Remaining Assets
                                                                        $205,590.78                      $13,684.23                                          $8,580.23                                       $0.00




     Major Activities affecting caseCase
                                    closing:3:16-bk-09961-DPC                 Doc 71    Filed 10/25/18              Entered 10/25/18 14:15:03                   Desc
      Ready for TFR
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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page No:    3              Exhibit A
                                                                                        ASSET CASES

Case No.:                   16-09961-PCT DPC                                                                                                    Trustee Name:                               Lawrence J. Warfield
Case Name:                  STEVENS, MARK DANIEL                                                                                                Date Filed (f) or Converted (c):            08/29/2016 (f)
For the Period Ending:      10/10/2018                                                                                                          §341(a) Meeting Date:                       10/21/2016
                                                                                                                                                Claims Bar Date:                            02/15/2017

                               1                                             2                            3                             4                        5                                         6

                       Asset Description                                  Petition/                Estimated Net Value               Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                                  Unscheduled               (Value Determined by               Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                               Value                         Trustee,              OA =§ 554(a) abandon.         the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

      Trustee Report of Sale filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD (related document(s)[66] Trustee Notice of Sale).(DAKE,
      TERRY)
      Document Number: 68
      Judgment on Garnishment signed on 7/27/2018 (related document(s)[41] Motion to Approve) . (Murillo, Sybil)
      Case Name:      WARFIELD v. Neish
      Case Number: 3:17-ap-00262-DPC


      WARNING: CASE CLOSED on 07/31/2017
      Document Number: 43
      Motion to Approve Judgment On Garnishment filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD (related document(s)[40] Notice of
      Filing). (DAKE, TERRY)
      Document Number: 41
      Trustee Notice of Sale (Harley) filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD.(DAKE, TERRY)
      Document Number: 66


      2003 Harley Davidson motorcycle, VIN VIN 1HD1BTY393Y045814
      See attached photos
      Application for Order to Show Cause filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD (related document(s)[25] Order on Motion for
      Examination). (DAKE, TERRY)
      Document Number: 31
      ORDER Granting Motion to Approve (Related Doc # [26]) signed on 5/5/2018 . (Murillo, Sybil)
      Case Name:       WARFIELD v. Neish
      Case Number: 3:17-ap-00262-DPC


      WARNING: CASE CLOSED on 07/31/2017
      Document Number: 28
      ORDER Granting Motion for Examination (Related Doc # [23]) signed on 3/5/2018 . (Murillo, Sybil)
      Document Number: 25




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                                                                                        ASSET CASES

Case No.:                    16-09961-PCT DPC                                                                                                        Trustee Name:                               Lawrence J. Warfield
Case Name:                   STEVENS, MARK DANIEL                                                                                                    Date Filed (f) or Converted (c):            08/29/2016 (f)
For the Period Ending:       10/10/2018                                                                                                              §341(a) Meeting Date:                       10/21/2016
                                                                                                                                                     Claims Bar Date:                            02/15/2017

                                1                                            2                             3                                4                         5                                         6

                         Asset Description                                Petition/                Estimated Net Value                   Property                Sales/Funds               Asset Fully Administered (FA)/
                          (Scheduled and                                Unscheduled               (Value Determined by                   Abandoned               Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                             Value                         Trustee,                  OA =§ 554(a) abandon.          the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

      Case Name:       WARFIELD v. Neish
      Case Number:     3:17-ap-00262-DPC


      WARNING: CASE CLOSED on 07/31/2017
      Document Number: 23


      Docket Text:
      Motion for Examination filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD (related document(s)[18] Order Granting). (DAKE, TERRY)
      ORDER ENTERED -


      IT IS ORDERED that the trustee’s Motion For Summary Judgment is granted.
      IT IS FURTHER ORDERED that the transfer of the 2003 Harley Davidson motorcycle, VIN 1HD4CJM483K443743, to defendant Charlene Renee Neish is avoided pursuant to 11
      U.S.C. §547.
      IT IS FURTHER ORDERED that defendant Charlene Renee Neish shall turn the Harley over to the trustee pursuant to 11 U.S.C. §550(a)(1).
      IT IS FURTHER ORDERED that defendant Charlene Renee Neish shall pay $6,000.00 to the trustee pursuant to 11 U.S.C. §550(a)(1). When the Harley is turned over and sold by the
      trustee, then the judgment shall be credited for the net sale proceeds less the costs of recovery and sale.
      IT IS FURTHER ORDERED that defendant Charlene Renee Neish shall pay costs of $350.00.
      IT IS FURTHER ORDERED that the hearing set for August 22, 2017 at 11:00 a.m. is vacated.
      IT IS FURTHER ORDERED that the Clerk shall enter this as a final judgment as there remain no other issues for resolution in this adversary proceeding.
      ORDER Granting Motion to Approve Compromise/Settlement (Related Doc # [44]) signed on 7/11/2017 . (Taylor, Erika)
      Notice of No Objection , Notice of Lodging Proposed Order filed by LAWRENCE 1 WARFIELD on behalf of LAWRENCE J. WARFIELD (related document(s)[44] Motion to
      Approve Compromise/Settlement).(WARFIELD, LAWRENCE 1)
      Document Number: 47
      --------------------------------
      The new document Stevens - 16-09961 - ORDER RE Motion to Approve Compromise.pdf was uploaded successfully on 7/11/2017 at 10:54 AM
      Order type: No Hearing Required
      Related document number: 44
      Related document description: Motion to Approve Compromise/Settlement
      Order ID: 732115
      Trustee Report of Sale filed by LAWRENCE 1 WARFIELD on behalf of LAWRENCE J. WARFIELD (related document(s)[44] Motion to Approve Compromise/Settlement).
      (WARFIELD, LAWRENCE 1)
      Document Number: 48
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Case No.:                    16-09961-PCT DPC                                                                                                          Trustee Name:                               Lawrence J. Warfield
Case Name:                   STEVENS, MARK DANIEL                                                                                                      Date Filed (f) or Converted (c):            08/29/2016 (f)
For the Period Ending:       10/10/2018                                                                                                                §341(a) Meeting Date:                       10/21/2016
                                                                                                                                                       Claims Bar Date:                            02/15/2017

                                 1                                                2                               3                            4                        5                                         6

                        Asset Description                                      Petition/                  Estimated Net Value               Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                      Unscheduled                 (Value Determined by               Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                   Value                           Trustee,              OA =§ 554(a) abandon.         the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

      Motion to Approve Compromise/Settlement filed by LAWRENCE 1 WARFIELD on behalf of LAWRENCE J. WARFIELD. (WARFIELD, LAWRENCE 1)
      Document Number: 44
      -----------------


      Chapter 7 Trustee Notice filed by LAWRENCE 1 WARFIELD on behalf of LAWRENCE J. WARFIELD (related document(s)[44] Motion to Approve Compromise/Settlement).
      (WARFIELD, LAWRENCE 1)
      Document Number: 45
      Minutes of Hearing held on: 05/19/2017
      Subject: ORDER TO SHOW CAUSE TO MICHELLE AUTUMN STEVENS AS TO WHY HE SHOULD NOT BE HELD IN CONTEMPT FOR HER FAILURE TO COMPLY
      WITH THIS COURT'S ORDER ENTERED AT DOCKET #28.
      (vCal Hearing ID (1373039)). (related document(s)[36]) Order to Show Cause set for 08/18/2017 at 10:30 AM at U.S. Magistrate Courtroom, 123 N. San Francisco St., Flagstaff, AZ
      (FLG) (Vaughan, Rhonda)
      ORDER to Show Cause signed on 5/2/2017 (related document(s)[34] Application for Order to Show Cause) Order to Show Cause set for 5/19/2017 at 11:00 AM at U.S. Magistrate
      Courtroom, 123 N. San Francisco St., Flagstaff, AZ (FLG) . (Taylor, Erika)
      Motion to Compel filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD. (DAKE, TERRY)


      the trustee prays for the entry of an order directing Michelle Autumn Stevens to immediately turn over to the trustee the


      2003 Harley Davidson motorcycle, VIN 1HD1BTY393Y0458141


      which is in her possession.
      Notice of Hearing on Motion To Compel Turnover filed by TERRY A. DAKE of TERRY A. DAKE, LTD. on behalf of LAWRENCE J. WARFIELD (related document(s)[23] Motion
      to Compel) Hearing on Motion set for 3/17/2017 at 11:00 AM at U.S. Magistrate Courtroom, 123 N. San Francisco St., Flagstaff, AZ (FLG).(DAKE, TERRY)
      REQUEST TO SET CLAIMS BAR DATE FILED - alj
      Trustee is administering Assets in Case


Initial Projected Date Of Final Report (TFR):            04/05/2019                           Current Projected Date Of Final Report (TFR):        04/05/2019               /s/ LAWRENCE J. WARFIELD
                                                                                                                                                                            LAWRENCE J. WARFIELD




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                                                                                             FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-09961-PCT DPC                                                                                Trustee Name:                            Lawrence J. Warfield
 Case Name:                        STEVENS, MARK DANIEL                                                                            Bank Name:                               Bank of Texas
Primary Taxpayer ID #:             **-***3732                                                                                      Checking Acct #:                         ******4972
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:              8/29/2016                                                                                       Blanket bond (per case limit):           $82,080,307.00
For Period Ending:                 10/10/2018                                                                                      Separate bond (if applicable):

       1                2                                3                                         4                                                       5                      6                      7

   Transaction       Check /                           Paid to/            Description of Transaction                               Uniform           Deposit             Disbursement                 Balance
      Date            Ref. #                        Received From                                                                  Tran Code            $                      $


05/30/2017            (5)      Michelle A Stevens                   Payment for Motorcycle                                          1129-000             $1,000.00                                           $1,000.00
06/01/2017            (14)     United States Treasury               2016 Fed tax refund                                             1224-000             $1,811.00                                           $2,811.00
06/14/2017           1001      MARK STEVENS                         Return of Debtors Pro Rata                                      8500-002                                           $615.24             $2,195.76
06/30/2017                     Bank of Texas                        Account Analysis Fee                                            2600-000                                              $3.96            $2,191.80
07/31/2017                     Bank of Texas                        Account Analysis Fee                                            2600-000                                              $3.85            $2,187.95
08/31/2017                     Bank of Texas                        Account Analysis Fee                                            2600-000                                              $3.53            $2,184.42
09/29/2017                     Bank of Texas                        Account Analysis Fee                                            2600-000                                              $3.41            $2,181.01
10/31/2017                     Bank of Texas                        Account Analysis Fee                                            2600-000                                              $3.51            $2,177.50
11/13/2017                     Integrity Bank                       Transfer Funds                                                  9999-000                                          $2,177.50                  $0.00

                                                                                      TOTALS:                                                            $2,811.00                    $2,811.00                  $0.00
                                                                                          Less: Bank transfers/CDs                                           $0.00                    $2,177.50
                                                                                      Subtotal                                                           $2,811.00                      $633.50
                                                                                          Less: Payments to debtors                                          $0.00                        $0.00
                                                                                      Net                                                                $2,811.00                      $633.50



                     For the period of 8/29/2016 to 10/10/2018                                                  For the entire history of the account between 05/30/2017 to 10/10/2018

                     Total Compensable Receipts:                      $2,811.00                                 Total Compensable Receipts:                                       $2,811.00
                     Total Non-Compensable Receipts:                      $0.00                                 Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                    $2,811.00                                 Total Comp/Non Comp Receipts:                                     $2,811.00
                     Total Internal/Transfer Receipts:                    $0.00                                 Total Internal/Transfer Receipts:                                     $0.00


                     Total Compensable Disbursements:                    $18.26                                 Total Compensable Disbursements:                                     $18.26
                     Total Non-Compensable Disbursements:               $615.24                                 Total Non-Compensable Disbursements:                                $615.24
                     Total Comp/Non Comp Disbursements:                 $633.50                                 Total Comp/Non Comp Disbursements:                                  $633.50
                     Total Internal/Transfer Disbursements:           $2,177.50                                 Total Internal/Transfer Disbursements:                            $2,177.50




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                                                                                            FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-09961-PCT DPC                                                                Trustee Name:                           Lawrence J. Warfield
 Case Name:                        STEVENS, MARK DANIEL                                                            Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***3732                                                                      Checking Acct #:                        ******9961
Co-Debtor Taxpayer ID #:                                                                                           Account Title:                          DDA
For Period Beginning:              8/29/2016                                                                       Blanket bond (per case limit):          $82,080,307.00
For Period Ending:                 10/10/2018                                                                      Separate bond (if applicable):

       1                2                                3                                          4                                   5                        6                     7

   Transaction       Check /                           Paid to/            Description of Transaction               Uniform           Deposit            Disbursement                Balance
      Date            Ref. #                        Received From                                                  Tran Code            $                     $


11/13/2017                     Bank of Texas                        Transfer Funds                                 9999-000           $2,177.50                                            $2,177.50
11/30/2017                     Integrity Bank                       Bank Service Fee                               2600-000                                            $1.87             $2,175.63
12/31/2017                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.23             $2,172.40
01/31/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.22             $2,169.18
02/28/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $2.91             $2,166.27
03/31/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.21             $2,163.06
04/30/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.11             $2,159.95
05/31/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.20             $2,156.75
06/30/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.10             $2,153.65
07/31/2018                     Integrity Bank                       Bank Service Fee                               2600-000                                            $3.20             $2,150.45
08/05/2018                     Independent Bank                     Bank Service Fee                               2600-000                                            $0.51             $2,149.94
08/06/2018                     Independent Bank                     Bank Service Fee                               2600-000                                           ($0.51)            $2,150.45
08/07/2018            (15)     OneAZ Credit Union                   Garnishment of Charlene Neish                  1249-000           $2,188.46                                          $4,338.91
08/31/2018                     Independent Bank                     Bank Service Fee                               2600-000                                          $75.93              $4,262.98
09/05/2018                     Independent Bank                     Bank Service Fee                               2600-000                                          ($75.93)            $4,338.91
09/06/2018            (4)      Michelle Steven                                                                     1129-000           $3,000.00                                          $7,338.91
09/06/2018                     Independent Bank                     Bank Service Fee                               2600-000                                            $6.45             $7,332.46
09/25/2018            (15)     Charlene                             Payment from Charlene                          1249-000             $580.77                                          $7,913.23




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                                                                                         Page 9 of 18             SUBTOTALS            $7,946.73                     $33.50
                                                                                                                                                                 Page No: 3                 Exhibit B
                                                                                         FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          16-09961-PCT DPC                                                                             Trustee Name:                            Lawrence J. Warfield
Case Name:                        STEVENS, MARK DANIEL                                                                         Bank Name:                               Independent Bank
Primary Taxpayer ID #:            **-***3732                                                                                   Checking Acct #:                         ******9961
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                           DDA
For Period Beginning:             8/29/2016                                                                                    Blanket bond (per case limit):           $82,080,307.00
For Period Ending:                10/10/2018                                                                                   Separate bond (if applicable):

      1                 2                                3                                      4                                                     5                       6                    7

  Transaction        Check /                         Paid to/           Description of Transaction                              Uniform           Deposit             Disbursement               Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                      $


                                                                                  TOTALS:                                                            $7,946.73                     $33.50            $7,913.23
                                                                                      Less: Bank transfers/CDs                                       $2,177.50                      $0.00
                                                                                  Subtotal                                                           $5,769.23                     $33.50
                                                                                      Less: Payments to debtors                                          $0.00                      $0.00
                                                                                  Net                                                                $5,769.23                     $33.50



                     For the period of 8/29/2016 to 10/10/2018                                              For the entire history of the account between 11/13/2017 to 10/10/2018

                     Total Compensable Receipts:                   $5,769.23                                Total Compensable Receipts:                                       $5,769.23
                     Total Non-Compensable Receipts:                   $0.00                                Total Non-Compensable Receipts:                                       $0.00
                     Total Comp/Non Comp Receipts:                 $5,769.23                                Total Comp/Non Comp Receipts:                                     $5,769.23
                     Total Internal/Transfer Receipts:             $2,177.50                                Total Internal/Transfer Receipts:                                 $2,177.50


                     Total Compensable Disbursements:                $33.50                                 Total Compensable Disbursements:                                      $33.50
                     Total Non-Compensable Disbursements:             $0.00                                 Total Non-Compensable Disbursements:                                   $0.00
                     Total Comp/Non Comp Disbursements:              $33.50                                 Total Comp/Non Comp Disbursements:                                    $33.50
                     Total Internal/Transfer Disbursements:           $0.00                                 Total Internal/Transfer Disbursements:                                 $0.00




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                                                                                        FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-09961-PCT DPC                                                                      Trustee Name:                           Lawrence J. Warfield
Case Name:                       STEVENS, MARK DANIEL                                                                  Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***3732                                                                            Checking Acct #:                        ******9961
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                          DDA
For Period Beginning:            8/29/2016                                                                             Blanket bond (per case limit):          $82,080,307.00
For Period Ending:               10/10/2018                                                                            Separate bond (if applicable):

      1                 2                                3                                     4                                             5                       6                    7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                        Tran Code            $                     $




                                                                                                                                                                          NET             ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE            BALANCES

                                                                                                                                          $8,580.23                      $667.00            $7,913.23




                     For the period of 8/29/2016 to 10/10/2018                                      For the entire history of the case between 08/29/2016 to 10/10/2018

                     Total Compensable Receipts:                   $8,580.23                        Total Compensable Receipts:                                      $8,580.23
                     Total Non-Compensable Receipts:                   $0.00                        Total Non-Compensable Receipts:                                      $0.00
                     Total Comp/Non Comp Receipts:                 $8,580.23                        Total Comp/Non Comp Receipts:                                    $8,580.23
                     Total Internal/Transfer Receipts:             $2,177.50                        Total Internal/Transfer Receipts:                                $2,177.50


                     Total Compensable Disbursements:                 $51.76                        Total Compensable Disbursements:                                    $51.76
                     Total Non-Compensable Disbursements:            $615.24                        Total Non-Compensable Disbursements:                               $615.24
                     Total Comp/Non Comp Disbursements:              $667.00                        Total Comp/Non Comp Disbursements:                                 $667.00
                     Total Internal/Transfer Disbursements:        $2,177.50                        Total Internal/Transfer Disbursements:                           $2,177.50




                                                                                                                    /s/ LAWRENCE J. WARFIELD
                                                                                                                    LAWRENCE J. WARFIELD




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  Case No.                      16-09961-PCT DPC                                                                                     Trustee Name:              Lawrence J. Warfield
  Case Name:                    STEVENS, MARK DANIEL                                                                                 Date:                      10/10/2018
  Claims Bar Date:              02/15/2017

 Claim               Creditor Name            Claim           Claim Class        Claim      Uniform    Scheduled     Claim        Amount        Amount           Interest        Tax              Net
  No.:                                        Date                              Status     Tran Code   Amount        Amount       Allowed        Paid                                          Remaining
                                                                                                                                                                                                Balance

          LAWRENCE J.                       10/10/2018   Trustee                Allowed     2100-000        $0.00     $1,546.50    $1,546.50         $0.00            $0.00            $0.00    $1,546.50
          WARFIELD                                       Compensation
          PO Box 3350
          Carefree AZ 85377
          LAWRENCE J.                       01/29/2017   Trustee Expenses       Allowed     2200-000        $0.00      $148.41      $148.41          $0.00            $0.00            $0.00      $148.41
          WARFIELD
          PO Box 3350
          Carefree AZ 85377
          CLERK, US                         10/10/2018   Clerk of the Court     Allowed     2700-000      $350.00      $350.00      $350.00          $0.00            $0.00            $0.00      $350.00
          BANKRUPTCY COURT                               Costs (includes
                                                         adversary and other
                                                         filing fees)
         District of Arizona
         230 North First Avenue, Suite101
         Phoenix AZ 85003-1706
Claim Notes: Adversary Fee
          TERRY A DAKE                      10/10/2018   Attorney for Trustee   Allowed     3220-000      $222.00      $222.00      $222.00          $0.00            $0.00            $0.00      $222.00
                                                         Expenses (Other
                                                         Firm)
          20 E Thomas
          Ste 2200
          PHOENIX AZ 85012-3133
          TERRY A DAKE                      10/10/2018   Attorney for Trustee   Allowed     3210-000     $8,190.00    $8,190.00    $8,190.00         $0.00            $0.00            $0.00    $8,190.00
                                                         Fees (Other Firm)
          20 E Thomas
          Ste 2200
          PHOENIX AZ 85012-3133
      1   DISCOVER BANK                     11/28/2016   General Unsecured      Allowed     7100-000        $0.00     $2,370.33    $2,370.33         $0.00            $0.00            $0.00    $2,370.33
                                                         726(a)(2)
           Discover Products Inc
           PoB 3025
           New Albany OH 43054-3025
      2   CAPITAL ONE BANK                  12/19/2016   General Unsecured      Allowed     7100-000        $0.00     $2,324.67    $2,324.67         $0.00            $0.00            $0.00    $2,324.67
          (USA), N.A.                                    726(a)(2)
           PO Box 71083
           Charlotte NC 28272-1083
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  Case No.                      16-09961-PCT DPC                                                                               Trustee Name:              Lawrence J. Warfield
  Case Name:                    STEVENS, MARK DANIEL                                                                           Date:                      10/10/2018
  Claims Bar Date:              02/15/2017

 Claim               Creditor Name          Claim           Claim Class     Claim      Uniform    Scheduled    Claim        Amount        Amount           Interest        Tax              Net
  No.:                                      Date                           Status     Tran Code   Amount       Amount       Allowed        Paid                                          Remaining
                                                                                                                                                                                          Balance

     3   CAPITAL ONE BANK                 12/19/2016   General Unsecured   Allowed     7100-000        $0.00     $798.32      $798.32          $0.00            $0.00            $0.00      $798.32
         (USA), N.A.                                   726(a)(2)
          PO Box 71083
          Charlotte NC 28272-1083
     4   PYOD LLC                         01/04/2017   General Unsecured   Allowed     7100-000        $0.00    $2,168.45    $2,168.45         $0.00            $0.00            $0.00    $2,168.45
                                                       726(a)(2)
         c/o Resurgent Capital Services
         PO Box 19008
         Greenville SC 29602
     5   CAPITAL ONE, N.A.                01/05/2017   General Unsecured   Allowed     7100-000        $0.00     $736.75      $736.75          $0.00            $0.00            $0.00      $736.75
                                                       726(a)(2)
          C/O BECKET AND LEE LLP
          PO BOX 3001
          MALVERN PA 19355-0701
     6   AMERICAN EXPRESS                 01/10/2017   General Unsecured   Allowed     7100-000        $0.00    $3,799.30    $3,799.30         $0.00            $0.00            $0.00    $3,799.30
         CENTURION BANK                                726(a)(2)
          C/O BECKET AND LEE LLP
          PO BOX 3001
          MALVERN PA 19355-0701
     7   CAPITAL ONE BANK                 01/13/2017   General Unsecured   Allowed     7100-000        $0.00    $2,324.67    $2,324.67         $0.00            $0.00            $0.00    $2,324.67
         (USA), N.A.                                   726(a)(2)
          PO Box 71083
          Charlotte NC 28272-1083
     8   CAPITAL ONE BANK                 01/13/2017   General Unsecured   Allowed     7100-000        $0.00     $798.32      $798.32          $0.00            $0.00            $0.00      $798.32
         (USA), N.A.                                   726(a)(2)
          PO Box 71083
          Charlotte NC 28272-1083
     9   CITIBANK, N.A.                   01/23/2017   General Unsecured   Allowed     7100-000        $0.00     $725.20      $725.20          $0.00            $0.00            $0.00      $725.20
                                                       726(a)(2)
         c/o Quantum3 Group LLC
         PO Box 280
         Kirkland WA 98083-0280
Claim Notes: (9-1) Money Loaned




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 Case No.                      16-09961-PCT DPC                                                                           Trustee Name:              Lawrence J. Warfield
 Case Name:                    STEVENS, MARK DANIEL                                                                       Date:                      10/10/2018
 Claims Bar Date:              02/15/2017

Claim               Creditor Name      Claim           Claim Class     Claim      Uniform    Scheduled    Claim        Amount        Amount           Interest        Tax              Net
No.:                                    Date                          Status     Tran Code   Amount       Amount       Allowed        Paid                                          Remaining
                                                                                                                                                                                     Balance

   10   WELLS FARGO BANK,            02/06/2017   General Unsecured   Allowed     7100-000        $0.00    $3,957.79    $3,957.79         $0.00            $0.00            $0.00    $3,957.79
        N.A.                                      726(a)(2)
         Wells Fargo Card Services
         PO Box 10438, MAC F8235-02F
         Des Moines IA 50306-0438
   11   SYNCHRONY BANK               02/08/2017   General Unsecured   Allowed     7100-000        $0.00    $6,634.00    $6,634.00         $0.00            $0.00            $0.00    $6,634.00
                                                  726(a)(2)
         c/o PRA Receivables
         Management, LLC
         PO Box 41021
         Norfolk VA 23541
   12   SYNCHRONY BANK               02/08/2017   General Unsecured   Allowed     7100-000        $0.00    $2,663.47    $2,663.47         $0.00            $0.00            $0.00    $2,663.47
                                                  726(a)(2)
         c/o PRA Receivables
         Management, LLC
         PO Box 41021
         Norfolk VA 23541
   13   PORTFOLIO RECOVERY           02/15/2017   General Unsecured   Allowed     7100-000        $0.00    $1,292.55    $1,292.55         $0.00            $0.00            $0.00    $1,292.55
        ASSOCIATES, LLC                           726(a)(2)
         POB 12914
         Norfolk VA 23541
   14   PORTFOLIO RECOVERY           02/15/2017   General Unsecured   Allowed     7100-000        $0.00    $1,721.85    $1,721.85         $0.00            $0.00            $0.00    $1,721.85
        ASSOCIATES, LLC                           726(a)(2)
         POB 12914
         Norfolk VA 23541
                                                                                                          $42,772.58   $42,772.58         $0.00            $0.00        $0.00       $42,772.58




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Case No.                      16-09961-PCT DPC                                                                                      Trustee Name:               Lawrence J. Warfield
Case Name:                    STEVENS, MARK DANIEL                                                                                  Date:                       10/10/2018
Claims Bar Date:              02/15/2017


      CLAIM CLASS SUMMARY TOTALS

                                            Claim Class                                   Claim        Amount       Amount                   Interest                Tax                  Net
                                                                                          Amount       Allowed       Paid                                                              Remaining
                                                                                                                                                                                        Balance


           Attorney for Trustee Expenses (Other Firm)                                       $222.00       $222.00           $0.00                   $0.00                $0.00               $222.00

           Attorney for Trustee Fees (Other Firm)                                          $8,190.00    $8,190.00           $0.00                   $0.00                $0.00            $8,190.00

           Clerk of the Court Costs (includes adversary and other filing fees)              $350.00       $350.00           $0.00                   $0.00                $0.00               $350.00

           General Unsecured 726(a)(2)                                                    $32,315.67   $32,315.67           $0.00                   $0.00                $0.00           $32,315.67

           Trustee Compensation                                                            $1,546.50    $1,546.50           $0.00                   $0.00                $0.00            $1,546.50

           Trustee Expenses                                                                 $148.41       $148.41           $0.00                   $0.00                $0.00               $148.41




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                                 TRUSTEE’S PROPOSED DISTRIBUTION

 Case No.:           3:16-BK-09961-DPC
 Case Name:          MARK DANIEL STEVENS
 Trustee Name:       Lawrence J. Warfield

                                                                Balance on hand:                    $7,913.23


          Claims of secured creditors will be paid as follows: NONE



                                            Total to be paid to secured creditors:                      $0.00
                                                             Remaining balance:                     $7,913.23

          Applications for chapter 7 fees and administrative expenses have been filed as follows:

 Reason/Applicant                                                   Total          Interim           Proposed
                                                                Requested       Payments to          Payment
                                                                                      Date
 Lawrence J. Warfield, Trustee Fees                              $1,546.50            $0.00          $1,546.50
 Lawrence J. Warfield, Trustee Expenses                            $148.41            $0.00             $148.41
 TERRY A DAKE, Attorney for Trustee Fees                         $8,190.00            $0.00          $5,646.32
 TERRY A DAKE, Attorney for Trustee Expenses                       $222.00            $0.00             $222.00
 CLERK, US BANKRUPTCY COURT , Clerk of the                         $350.00            $0.00             $350.00
 Court Costs


                           Total to be paid for chapter 7 administrative expenses:                  $7,913.23
                                                              Remaining balance:                        $0.00

          Applications for prior chapter fees and administrative expenses have been filed as follows:
 NONE



                        Total to be paid to prior chapter administrative expenses:                        $0.00
                                                              Remaining balance:                          $0.00

          In addition to the expenses of administration listed above as may be allowed by the Court,
 priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.

          Allowed priority claims are: NONE




 UST Form 101-7-TFR (5/1/2011)
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                                                  Total to be paid to priority claims:                 $0.00
                                                                 Remaining balance:                    $0.00

         The actual distribution to wage claimants included above, if any, will be the proposed payment
 less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

         Timely claims of general (unsecured) creditors totaling $32,315.67 have been allowed and will be
 paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
 allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if applicable).

          Timely allowed general (unsecured) claims are as follows:

 Claim No. Claimant                                             Allowed Amt.           Interim      Proposed
                                                                     of Claim       Payments to      Amount
                                                                                          Date
            1 Discover Bank                                          $2,370.33            $0.00         $0.00
            2 Capital One Bank (USA), N.A.                           $2,324.67            $0.00         $0.00
            3 Capital One Bank (USA), N.A.                             $798.32            $0.00         $0.00
            4 PYOD LLC                                               $2,168.45            $0.00         $0.00
            5 CAPITAL ONE, N.A.                                        $736.75            $0.00         $0.00
            6 AMERICAN EXPRESS CENTURION                             $3,799.30            $0.00         $0.00
              BANK
            7 Capital One Bank (USA), N.A.                           $2,324.67            $0.00         $0.00
            8 Capital One Bank (USA), N.A.                             $798.32            $0.00         $0.00
            9 Citibank, N.A.                                           $725.20            $0.00         $0.00
           10 Wells Fargo Bank, N.A.                                 $3,957.79            $0.00         $0.00
           11 Synchrony Bank                                         $6,634.00            $0.00         $0.00
           12 Synchrony Bank                                         $2,663.47            $0.00         $0.00
           13 Portfolio Recovery Associates, LLC                     $1,292.55            $0.00         $0.00
           14 Portfolio Recovery Associates, LLC                     $1,721.85            $0.00         $0.00


                                 Total to be paid to timely general unsecured claims:                  $0.00
                                                                 Remaining balance:                    $0.00

         Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
 paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
 have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
 applicable).

          Tardily filed general (unsecured) claims are as follows: NONE



                        Total to be paid to tardily filed general unsecured claims:                    $0.00


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                                                          Remaining balance:                         $0.00

         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
 subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
 allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
 subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

         Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
 subordinated by the Court are as follows: NONE



                                     Total to be paid for subordinated claims:                       $0.00
                                                           Remaining balance:                        $0.00




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